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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA                     :


               v.                            :       23-cr-36-JRT


KASSIUS ORLANDO BENSON                       :

 DEFENDANT’S RESPONSE TO GOVERNMENT’S SENTENCING POSITION

   Kassius Benson, through counsel, respectfully responds to the Government’s

Sentencing Position with Respect to Sentencing (ECF 56) and replies to the

Government’s Response to Defendant’s Sentencing Position (ECF 60). In doing Mr.

Benson focuses his response in two areas. First, the government misapprehends the

financial expenses and burdens associated with Mr. Benson’s law firm and extrapolates

from its error that Mr. Benson’s failure to pay-over taxes was motivated by personal

financial enrichment. To the contrary, by expanding his law firm beyond a sole

proprietorship, he overextended himself beyond his capacity and used high-interest credit

card charges and loans to support the business. As was clear from his initial submission

(ECF 57), Mr. Benson does not offer his failings as an excuse for the conduct that brings

him before the Court. But it is relevant context to understand that conduct. Second, the

government presents an inaccurate and incomplete recitation of sentences in failure-to-

pay-over cases, neglecting to observe that Mr. Benson’s guidelines are lower than the

universe of prior cases and omitting at least five cases in this district alone in which the

Court imposed a probationary sentence for a defendant with higher guidelines that Mr.

Benson.




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          A. Mr. Benson’s failure to pay-over taxes resulted in part from poor
       business management.

    The government appears to view Mr. Benson’s law practice as flourishing

economically, suggesting that payments to personal credits cards were unrelated to

business expenses, that cash withdrawals from his personal accounts were all for personal

reasons, and that his firm operated without business debt. See ECF 56 at 10-12. It is

mistaken. Mr. Benson, who was solely responsible for running the law firm, used

personal credit cards and withdrew cash from his personal accounts to fund the business

and keep it going when revenue fell short. While not optimal op business practices, they

were what Mr. Benson did when he needed to pay expenses and keep the law office

going. His repayment of credit cards was necessary to keep funds available for the

payment of salaries and other expenses. During the period from 2016–2019, Mr. Benson

paid $643,333 in salaries and compensation.1 During the same period, Mr. Benson paid

$231,265 in rent for office space.2 Mr. Benson also was responsible for and paid the costs

and expenses of preparing and trying multiple homicide and other major criminal cases –

primarily serious public defender cases in the northern part of the state that he took on

contract for a flat fee that did not compensate for the expenses of the cases.3 For those

low-paying public defender cases, the expenses included (and were not limited to) hotel

rooms for Mr. Benson and any associates that he brought to train and try the cases with




1
  Salaries and compensation: 2016 - $173,461; 2017 - $153,125; 2018 - $170,042; and
2019 – $146,705. See 1120S Tax Returns.
2
  Rents: 2016 - $47,856; 2017 – $54,600; 2018 - $57,600; and 2019 - $71,049. See 1120S
Tax Returns.
3
  See, e.g., Letter of Chief Public Defender Kris Kolar at 2, provided in Exhibit 9 to ECF
57.


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him. The salaries, rents, and case expenses are only a snap shot of the day-to-day

expenses for which Mr. Benson was responsible while running the firm.

    The government criticizes Mr. Benson for not taking out loans to support his business

and argues that he has no debt from the business. See ECF 56 at 12. These criticisms rest

on a faulty premise. Mr. Benson put a range of business expenses on personal credit

cards, which then created an increasingly heavy financial burden of paying down those

cards. Indeed, Mr. Benson still has such debt as reflected in his Wells Fargo card listed in

his credit report. See ECF 54 (PSR) at 12, ¶ 57. Additionally, between December 2015

and May 2018, Mr. Benson took out working capital business loans at unfavorable terms

from PayPal in the amount of $94,377, with a total of PayPal operating loans in the

amount of $108,500. The accrual of this debt diminished as the expense of employee

salaries diminished. Nonetheless, of those amounts, $42,783.18 remains due.4

    In addition to paying business salaries, rent, and other operating expenses, Mr.

Benson ensured that essential personal expenses – like child support and family living

expenses – were paid. This attention is not an excuse for failing to satisfy his obligations

to the IRS, but it is relevant because it distinguishes his case from those in which the

delinquent taxpayer instead spent money on an array of fancy vacations, luxury items,

and frivolous pursuits. The government faults Mr. Benson for buying a used Dodge Ram

truck (while travelling across the state to maintain his law practice) and continuing to live

in a four-bedroom family home (that he shares with his two youngest daughters who live

in the greater Minneapolis area and whom he co-parents and that provides a private

bedroom for his older daughter when she visits), when a Zillow search in 2024 shows


4
 A computer printout reflecting an outstanding loan balance of $42,783.18 is attached as
Exhibit A.


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other, cheaper options. See ECF 56 at 13-14. Mr. Benson has done what he can to

maintain some semblance of continuity for his children while he winds down his practice

and resolves the matter that brings him before the Court for sentencing.

    The government posits that Mr. Benson’s October 2020 personal return reflects a

decision to perjure himself, contrary to “the honorable and integrous person he presents

himself to be.” ECF 56 at 6. As an initial matter, nowhere in Mr. Benson’s letter to the

Court does he present himself as “honorable” or laud his own personal integrity. He is a

humbled man who acknowledges the grave errors he has made and still is coming to full

terms with the personal and profession al damage that he has inflicted upon himself and

his family.5

    The personal return Mr. Benson filed in October 2020 carried forward inaccurate

information contained in the corresponding business return, which was filed in June

2019, before he learned of the audit. His personal return is the action of a man who was

in denial about the severity of his mistakes and had not yet identified a path out of the

hole that he dug. But he did find that path, which led him to the entry of a guilty plea and

sentencing for a felony offense. Ideally, Mr. Benson would have found the path to

correction earlier and rectified his mistakes before a felony indictment: if he had done so

had would not be facing the stigma of a criminal conviction, the potential loss of his bar

license, and the shame of standing before the Court as a defendant rather than as defense


5
  The government’s statement that Mr. Benson “[told] the legal community and the
community at large: I am fit to be an example for you to follow,” ECF 56 at 8, is
inaccurate. As the letters to the Court demonstrate, Mr. Benson is throughout his career a
lawyer who puts his clients first and does not seek publicity or acclaim for his work. He
recognizes that as the first Black head of the Hennepin County Public Defender, he was
viewed by some as a role model and he is ashamed to have failed to live up that standard.
But the government’s running caricature of Mr. Benson in its sentencing position and
response is untrue – and intemperate.


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counsel. The rhetoric that a probationary sentence would lead anyone to think “I guess I

have nothing to fear except some attorney fees,” ECF 56 at 9, ignores reality.

   Frankly, the fact that Mr. Benson applied for the job as Chief of the Hennepin Public

Defender Office after learning of the civil audit further shows his inability to sufficiently

grapple with the severity of the situation in which he found himself. Those who hired Mr.

Benson and worked under Mr. Benson’s managerial leadership and supervision at the

office roundly praise his transformation of the office, and Mr. Benson takes great pride

about that work. See, e.g., Exhibit 14 to ECF-57 (Letter of William Ward, Minnesota

Public Defender); see also Exhibits 9 and 13 to ECF-57 (collecting letters from public

defender colleagues and hires of Mr. Benson).            That pride is matched by the

embarrassment and remorse regarding his resignation from the Chief position, both

because of the adverse attention it brought to the Office and because it prevented him

from accomplishing more. The idea that he would have knowingly put the Office at

reputational risk or obtain a position for which he was unfit, see ECF 60 at 4-5, ignores

Mr. Benson’s history with that Office and career as a public defender.

   Despite that business costs and expenses were overwhelming at times, Mr. Benson

ensured that the firm employees received their paychecks every pay period. Mr. Benson

has acknowledged that he is criminally responsible for not collecting and handing over

taxes to the federal government. He accepts full responsibility for that fault. However, the

law firm was not a personal slush fund for Mr. Benson. It was a source of pride for him

as far as the scope and quality of work that it provided to clients and the community. At

the same time, the firm, over-expanded without sufficient income generation and




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mismanaged by its owner and lead trial lawyer, also served as an albatross of a financial

burden.

           B. A probation sentence is sufficient but no greater than necessary and
        avoids unwarranted disparities with other § 7202 cases.

    The government supports its request of an imprisonment sentence for Mr. Benson by

citing law that has since been abrogated and supplying the results of some sentences in

other tax violation cases in a misleading, incomplete fashion that fails to observe the vast

differences in the sentencing guidelines in those cases and in Mr. Benson’s case and that

fails to include many other similar cases that resulted in probation sentences. See ECF 56,

at 3, 4, 9-10.

    The government cited some Eighth Circuit decisions to support its request of a prison

sentence, while failing to report that the reasoning of the cases was long-ago abrogated.

For example, the government cites to United States v. Ture, 450 F.3d 352 (8th Cir. 2006)

United States v. Carlson, 498 F.3d 761 (8th Cir. 2007), and United States v. Soperla, 494

F.3d 752 (8th Cir. 2007)6 as cases in which the Eighth Circuit held that the district court

abused its discretion and remanded for re-sentencing when the district court varied

downward from a guidelines range of imprisonment to impose probation sentences. Yet,

the guidelines are voluntary, not mandatory. And the government is just wrong when it

argues that “extraordinary justification” is needed for a downward variance to probation

when the guidelines reflect an incarceration range. Shortly after Ture and Carlson, the

U.S. Supreme Court reminded that U.S. District Courts are vested with broad discretion




6
 The government’s citation to Soperla, which incorporates the Court of Appeals docket
number, appears to be lifted from the body of the subsequent Carlson decision. See 498
F.3d at 761.


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in sentencing in Gall v. United States, 552 U.S. 38 (2007). District courts and the lawyers

who appear before them have followed that directive ever since.

   Left unsaid and unaddressed by the government is that, in any event, given Mr.

Benson’s criminal history and offense level, a probationary sentence is supported by the

guidelines. To be sure, as of November 1, 2023 amendment, the guidelines encourage a

probationary sentence for Mr. Benson’s offense. See U.S.S.G. § 5C1.1, Note 10 (“If the

defendant received an adjustment under § 4C1.1 (Adjustment for Certain Zero-Point

Offenders) and the defendant’s applicable guideline range is in Zone A or B of the

Sentencing Table, a sentence other than a sentence of imprisonment, in accordance with

subsection (b) or (c)(3) is generally appropriate. See 28 U.S.C. § 994(j).”), cited at ECF

54 (PSR) at 14, ¶ 63; see also U.S.S.G. §, 5C1.1, Application Note 4 (“If the defendant is

a nonviolent first offender and the applicable guideline range is in Zone A or B of the

Sentencing Table, the court should consider imposing a sentence other than a sentence of

imprisonment.”).

       Nonetheless, the government provides a Quick Facts for Tax Fraud Offenses

handout to support its request for a prison sentence. See ECF 56 at 4. Ignored by the

government is that the handout expressly does not reflect sentences for Mr. Benson’s

offense. Compare ECF 56-1 at 2 “(“Tax fraud offenses include cases in which the

offender was sentenced under § 2T1.4….”) with ECF 54 (PSR) at 1, ¶ 3 (sentencing is

under § 2T1.6). Nor does the handout reflect offense levels. In any event, the handout,

which reflects that 40% of the sentences did not involve incarceration, 58% of sentences

involved downward variances, and that the average sentence imposed has been

decreasing over time, ECF-56-1 at 2, further supports probation here.




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       For more pertinent information, defense counsel ran JSIN searches to provide the

Court with national aggregate sentencing data over the past five years. This data reveals

that, even without accounting for the November 1, 2023 amendments to the guidelines,

the presumptive national sentence for Mr. Benson’s offense is probation.

       Counsel ran JSIN searches for § 2T1.6 for Mr. Benson’s cell (CH I, Offense

Level 11) and for nearby cells (CH I, Offense Levels, 9, 10, 11, 12, and 13). There is

insufficient data for the cells for levels 9-12. For Level 13 (which is two levels above Mr.

Benson, in Zone C, and has a GL of 12-18 months), 15/25 defendants received probation

(60%). Defense counsel also ran JSIN searches for 2T1.4 for Mr. Benson’s cell (CH I,

Offense Level 11) and for nearby cells (CH 1, Offense Levels 9, 10, and 12). There was

insufficient data for cells 9 and 11. For level 12 (which is above Mr. Benson), 7/10

defendants received sentences of probation. For level 10, 2/5 defendants received

sentences of probation. The facts of the other three cases are unknown. Thus, for a

combination of levels 10 and 12, 9/15 or 60% received probation. The JSIN data supports

a probationary sentence for Mr. Benson’s Zone B, Criminal History Category I, Offense

Level 11 offense.

       The government also provides a table detailing 23 cases within this district. See

ECF56-B, giving the impression in its brief that the table is “complete” and

comprehensive. See ECF 56 at 4 & n.4. Nonetheless, the government’s chart is neither

complete nor comprehensive. To start, it is incomplete because it omits the criminal

history categories, offense levels, and guideline ranges for each of the defendants

included in the cart. Respectfully, it is unhelpful to compare Mr. Benson’s case to cases

with higher guidelines ranges, without recognizing and accounting for the difference in




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ranges. Defense counsel therefore has created a chart, entitled Government’s Exhibit B

Table – Complete” that includes the necessary relevant information for the 23 cases that

the government included in its table. This chart is attached as Exhibit B. As one would

expect, the vast majority of those cases had much higher guidelines than does Mr.

Benson. Recall that Mr. Benson’s guidelines are 8-14 months. With two exceptions, those

cases with guidelines in which the bottom number was less than 20 months all resulted in

probationary sentences. E.g., Annette Jones (18-24 months); Gary Hedin (12-18 months);

Erick Okeson (10-16 months); Michelle Udon (18-24 months); Barry Voss (12-18

months). The exceptions are Mohamed Abdi, who received a time-served sentence and

supervised release and Shawn and Dana Orr, who each received some incarceration time

for their very litigious 2006 cases in which they were sentenced in 2008.7

       In addition to being incomplete, the government’s chart is also not

comprehensive, excluding many cases in the district in which probation sentence were

given for higher offense-level § 7202 conduct. By reviewing ECF for the district, defense

counsel identified ten § 7202 cases in which a judge of this Court varied downward and

imposed a sentence of probation instead of incarceration. See ECF 57 at 17-18. Some of

those cases are included in the government’s chart. But a number of others not: United

States v. Nguyen, 11-cr-237-DSD (Mar. 11, 2013) (with loss amount of $288,387 and

advisory guidelines of 18-24 months, imposing sentence of five years of probation);


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  The Orr case is sui generis because they entered their guilty pleas only after their
significant pretrial litigation, their granted request for a continued trial date, and their
pleas eventually on the eve of the trial date. See, e.g., United States v. Shawn and Dana
Orr, 06-cr-249-PJS, ECF 202 & 203 (Orr change of plea hearings on March 25, 2008);
ECF 194 (continuing trial to April 14, 2008); ECF 187 (November 8, 2007 Orr motion to
continue); ECF 169-71 (August 3, 2007 Magistrate’s Report and Recommendations
multiple Orr substantive motions); ECF 136 (February 14, 200y setting of trial for June
18, 2007).


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United States v. Clough, 12-cr-109-RHK (Sept. 10, 2012) (with loss amount of $944,134

and advisory guidelines of 24-30 months, imposing sentence of three years of probation);

United States v. Kopel, 10-cr-29-MJD (Jan. 27, 2011) (with loss amount of $627,427 and

advisory guidelines of 25-30 months, imposing sentence of three years of probation, with

six months in a residential re-entry center and six months on home detention); United

States v. Schwarz, 07-cr-308-JRT (Apr. 29, 2008) (with loss amount of “almost

$200,000” and advisory guidelines of 12-18 months, plus existence of false statements by

defendant, imposing sentence of five years of probation).

   The government’s compendium of cases even falters as it relates to the Eighth Circuit

decisions that it cites. On remand in Carlson, which had a guidelines range of 18-24

months, the district court entered an agreed joint sentencing recommendation by the

parties. Given that the government indicated that it would appeal (again) any sentence

that did not include some amount and form of incarceration, the defendant in Carlson

agreed to five months of work release with community service while on supervised

release rather than protract his legal proceedings. The Court endorsed the joint sentencing

recommendation. See ECF 25, Amended Sentencing Judgment, United States v. Richard

L. Carlson, 06-cr-47-JRT (May 8, 2008); ECF 26, Joint Sentencing Recommendation of

the Parties, United States v. Richard L. Carlson, 06-cr-47-JRT (May 8, 2008). In Ture,

which had a guidelines range of 12-18 months, upon a contested sentencing remand, the

Court resentenced the defendant again to probation with community service. See ECF 32,

Amended Sentencing Judgment, United States v. Gerald Ture, 04-95-JRT (Apr. 29,

2008).




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   In short, prior sentences in this district (and nationally) merit a probationary sentence

for Mr. Benson.

   C. Mr. Benson has deep community support.

   After the initial sentencing submission, counsel received a letter in support from

attorney Tracie Olson. Ms. Olson’s letter is Exhibit C and is filed under seal.




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                                      CONCLUSION

   Probation, with community service and other attendant conditions and consequences

of the conviction, is appropriate. A jail sentence is excessive, serves no valid purpose,

and is greater than necessary. Counsel reserves the right to make additional requests at

the time of the sentencing hearing.

   Dated: May 1, 2024                        Respectfully submitted,

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                             CERTIFICATE OF SERVICE

    I hereby certify that on the 1st day of May, 2024, I electronically filed a true copy of
the foregoing memorandum with the Clerk of Court using the CM/ECF system, which
will send a notification of such filing (NEF) to all parties.
                                               ___________/s/__________________
                                               Edward J. Ungvarsky, Esquire




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